Case 1:19-cv-22303-KMW Document 72 Entered on FLSD Docket 03/26/2021 Page 1 of 10


                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    Case No.: 19-cv-22303-KMW

 FLORIDA CARRY, INC., a
 Florida not for profit corporation, et al.,

         Plaintiffs,
 vs.

 CITY OF MIAMI BEACH, et al.,

       Defendants.
 _________________________________/

  DEFENDANTS’ RESPONSE TO PLAINTIFFS’ STATEMENT OF UNDISPUTED FACT IN
          SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
                   MOTIONS FOR SUMMARY JUDGMENT

         Defendants, CITY OF MIAMI BEACH (the “City”), and MICHAEL GARCIA (“Officer M.

 Garcia”), KENNETH BOLDUC (“Sgt. Bolduc”), GUSTAVO VILLAMIL (“Officer Villamil”),

 BRIAN RIVERA (“Officer Rivera”), EDUARDO GARCIA (“Lt. E. Garcia”), JESSICA

 SALABARRIA (“Sgt. Salabarria”), NAHAMI BICELIS (“Officer Bicelis”), ROBERT MITCHELL

 (“Officer Mitchell”), LAVANIEL HICKS (“Officer Hicks”), and ELIZABETH VIDAL (“Officer El.

 Vidal”) (collectively, the “Defendant Officers”) (and collectively altogether, the “Defendants”), by

 and through their undersigned counsel, and pursuant to Fed. R. Civ. P. 56, hereby jointly file their

 Response to Plaintiffs’ Statement of Undisputed Fact in Support of Plaintiffs’ Opposition to

 Defendants’ Motions for Summary Judgment [D.E. 69-1], and state as follows in response to each

 numbered fact which Plaintiffs assert are undisputed for purposes of summary judgment: 1

                                        GENERAL OBJECTION

         As an initial matter, Defendants assert a general and standing objection to each alleged fact

 contained in Plaintiffs’ Statement of Undisputed Facts on the grounds that Plaintiffs have asserted


 1
  The following responses are tendered solely for purposes of summary judgment and should not be deemed
 admissions for trial or other purposes.
                                                   1
Case 1:19-cv-22303-KMW Document 72 Entered on FLSD Docket 03/26/2021 Page 2 of 10


 facts without providing any citations to the record or other admissible evidence in support of their

 assertions, which fails to comply with the requirements of Fed. R. Civ. P. 56. Defendants further object

 to the extent that Plaintiffs asserted facts conflict with Defendants’ undisputed facts that have

 previously been deemed as admitted by the Court. See [D.E. 62]. Accordingly, and pursuant to Fed.

 R. Civ. P. 56(c), Defendants respectfully submit that Plaintiffs’ assertions of fact should not and need

 not be considered by this Court in ruling on Defendants’ Motions for Summary Judgment.

           DEFENDANTS’ RESPONSES TO PLAINTIFFS’ “UNDISPUTED FACTS”

 1. Admitted.

 2. Admitted that Plaintiffs were gathering as members or supporters of Plaintiff, Florida Carry Inc.,

    and that their intended purpose was to “exercise their fundamental right to keep and bear arms,”

    Denied that a true purpose of the gathering was fishing. For example, shortly after his arrival,

    Plaintiff Gutierrez dropped an un-baited line into the water before leaning his fishing rod on the

    south-side railing and walking away, quietly telling Plaintiff Taylor, “I’m not gonna catch

    anything, I didn’t even bring bait.” [D.E. 57, ¶ 25]. Nevertheless, Defendants note that any dispute

    as to this issue is immaterial for purposes of summary judgment here.

 3. Admitted that Plaintiffs purport to have been gathering for this purpose.

 4. Admitted that Plaintiffs purport to have been gathering for this purpose.

 5. Admitted that Plaintiff Taylor purported to have been in possession of such papers for such

    purpose.

 6. Admitted that Plaintiffs Taylor, Philpot, Jenkins, and Devine entered onto the South Pointe Pier at

    approximately sometime between 9:00 A.M. and 10:00 A.M. and that Plaintiff Gutierrez arrived

    at approximately 10:00 A.M. Admitted also that one of the many purposes of the Pier is fishing.

    Denied that the true purpose of Plaintiffs’ presence on the Pier was to engage in fishing. See Resp.




                                                    2
Case 1:19-cv-22303-KMW Document 72 Entered on FLSD Docket 03/26/2021 Page 3 of 10


    to ¶ 2, supra. Nevertheless, Defendants note that any dispute as to this issue is immaterial for

    purposes of summary judgment here.

 7. Admitted that on June 24, 2018, a City sign was present at the South Pointe Pier that stated firearms

    and fireworks on the Pier, along with a list of other rules. However, Defendants note that the sign

    had been inadvertently left up and did not accurately represent authorized City policy at that time.

    Defendants further note that the Defendant Officers did not rely upon the sign for their authority

    to detain or otherwise take any actions with respect to the Plaintiffs on the date in question. [D.E.

    57, ¶¶ 47, 62].

 8. Admitted that Plaintiffs Taylor, Philpot, Jenkins, and Devine were approached by Park Ranger

    Vinas, an employee the City.

 9. Denied, as the record evidence establishes Park Ranger Vinas did in fact tell Plaintiffs that they

    needed to put their firearms away because open carry was not permitted. [D.E. 57, ¶ 18]. Plaintiffs’

    assertion that “Ranger Vinas did not tell Plaintiffs that open carry was illegal, but instead claimed

    that firearms were not permitted on the pier” based on his understanding of the City’s policy is

    demonstrably false. The transcript of the video recorded by Plaintiff Taylor (and the video itself)

    reveals this:

                      PARK RANGER: Good morning.
                      MR. TAYLOR:      How you doing?
                      PARK RANGER: That’s got to go away.
                      MR. TAYLOR:      What does?
                      PARK RANGER: That gun right there.
                      MR. TAYLOR:      Why?
                      PARK RANGER: Because you can’t carry open.

    See Defs’ Appx., [Ex. C, 01:40-02:00]; [Ex. C-1, 2:16-22]. Accordingly, Defendants note that

    there is no legitimate dispute of material fact on this issue for purposes of summary judgment.

 10. Admitted to the extent that Ranger Vinas’ actions and instructions at the relevant times are known.
                                                    3
Case 1:19-cv-22303-KMW Document 72 Entered on FLSD Docket 03/26/2021 Page 4 of 10


 11. Admitted that Park Ranger Vinas’ duty was to act as a civilian security guard for the park. Denied

    as to Plaintiffs’ assertion that Vinas gave Plaintiffs an express directive based upon the belief

    and/or reasons Plaintiffs allege, and further denied that Plaintiffs have adequate grounds to assert

    Vinas’ mental processes during the relevant period as undisputed fact. See Resp. to ¶ 9, supra.

    Accordingly, Defendants note that there is no legitimate dispute of material fact on this issue.

 12. Denied that Park Ranger Vinas gave Plaintiffs a “directive to remove their firearms from the Pier.”

    See Defs’ Appx., [Ex. C]; [Ex. C-1]; see also Defs’ Appx., [Ex. C]; [Ex. C-1]. Nevertheless,

    Defendants note that the factual issues implicated are immaterial for purposes of summary

    judgment here.

 13. Denied. See Resp. to ¶¶ 7, 9, 11-12, supra. Based on these prior responses, Defendants note that

    Plaintiffs have failed to establish a legitimate dispute of material fact on this issue.

 14. Admitted that Plaintiffs declined to comply with Park Ranger Vinas’ request to put their firearms

    away, and that Plaintiffs purport to have done so for the reasons stated.

 15. Admitted, except to the extent that Plaintiffs contend Taylor did not act rudely at times during his

    interaction with Park Ranger Vinas, which is an immaterial issue for purposes of summary

    judgment here. See Defs’ Appx., [Ex. C]; [Ex. C-1].

 16. Admitted that Plaintiff Taylor purported that he was attempting to “educate” Park Ranger Vinas

    by offering Vinas a paper allegedly containing the relevant statute and claiming that Plaintiffs were

    acting in full accordance with Florida law.

 17. Admitted that Plaintiffs refused to comply with Park Ranger Vinas’ request to put their firearms

    away, denied that Vinas gave Plaintiffs an express directive or took any enforcement action,

    although these minor disputes are immaterial for purposes of summary judgment here. Further

    admitted that after his discussion with the Plaintiffs, Park Ranger Vinas left the area and called

    City of Miami Beach Police Dispatch. See [D.E. 57, ¶ 22].


                                                     4
Case 1:19-cv-22303-KMW Document 72 Entered on FLSD Docket 03/26/2021 Page 5 of 10


 18. Admitted.

 19. Denied as phrased, and further noted that Plaintiffs have failed to cite to any record evidence in

    support of the assertions herein, which are moreover immaterial for purposes of summary

    judgment here.

 20. Denied as phrased, and further noted that Plaintiffs have failed to cite to any record evidence in

    support of the assertions herein, which are moreover immaterial for purposes of summary

    judgment here.

 21. Admitted that the Initial Officers briefly spoke with Park Ranger Vinas before proceeding onto the

    Pier.

 22. Admitted to the extent that such information, if any, is not in the record.

 23. Unknown, as Plaintiffs have failed to cite to any record evidence in support of these assertions,

    which are nevertheless immaterial for purposes of summary judgment here.

 24. Admitted.

 25. Admitted to the extent that fishing rods, at least some of which had lines in the water, were leaned

    against the railing of the Pier when the Initial Officers approached Plaintiffs Taylor, Philpot,

    Jenkins, Devine, and Gutierrez. Defendants note that none of the Plaintiffs were holding a fishing

    rod at any time from the Initial Officers’ first visual of the Plaintiffs through the time they initiated

    the investigatory stop, and further note that at least one of the lines was not even baited. [D.E. 57,

    ¶ 25]; Defs’ Appx., [Ex. Q, 2:00-2:20]. Moreover, Defendants note that any dispute as to whether

    the Plaintiffs were in fact fishing is immaterial for purposes of summary judgment here.

 26. Admitted that each of the Plaintiffs present upon the Initial Officers’ arrival was within such

    proximity to fishing equipment; unknown what, if any, equipment belonged to each.

 27. Unknown as to whether each Plaintiffs had all such items, and Plaintiffs have failed to cite to any

    record evidence in support of this assertion. As to Plaintiff Gutierrez’s comment, Defendants note


                                                     5
Case 1:19-cv-22303-KMW Document 72 Entered on FLSD Docket 03/26/2021 Page 6 of 10


    that a fishing “spoon” has no efficacy if simply dropped in the water and not actively reeled.

    Moreover, Defendants note that any dispute as to whether the Plaintiffs were in fact fishing is

    immaterial for purposes of summary judgment here.

 28. Admitted.

 29. Admitted in part. While three of the Initial Officers pointed their guns at the armed Plaintiffs upon

    arrival. Sergeant Bolduc did not point his weapon at the Plaintiffs but instead had his weapon

    drawn in the “low-ready” position. [D.E. 57, ¶ 28]. Additionally, Sergeant Bolduc did not

    personally disarm any of the Plaintiffs. [D.E. 57, ¶¶ 29-32].

 30. Admitted that Plaintiffs were disarmed of their visible firearms and some frisked for weapons for

    officer and citizen safety but denied that they were subjected to full searches by officers. Moreover,

    Plaintiffs have failed to cite to any record evidence in support of this assertion.

 31. Admitted to the extent that the times stated are approximations.

 32. Denied as phrased, and further noted that Plaintiffs have failed to cite to any record evidence in

    support of the assertions herein.

 33. Denied as phrased, and further noted that Plaintiffs have failed to cite to any record evidence in

    support of the assertions herein.

 34. Denied as phrased, and further noted that Plaintiffs have failed to cite to any record evidence in

    support of the assertions herein.

 35. Denied as phrased, and further noted that Plaintiffs have failed to cite to any record evidence in

    support of the assertions herein.

 36. Denied as phrased, and further noted that Plaintiffs have failed to cite to any record evidence in

    support of the assertions herein.

 37. Denied as phrased, and further noted that Plaintiffs have failed to cite to any record evidence in

    support of the assertions herein.


                                                    6
Case 1:19-cv-22303-KMW Document 72 Entered on FLSD Docket 03/26/2021 Page 7 of 10


 38. Admitted.

 39. Admitted to the extent that, for purposes of officer safety, several officers and the individual

    Plaintiffs walked from the Pier to a nearby parking lot, at which time officers returned all weapons

    and miscellaneous property to Plaintiffs with written property release sheets. [D.E. 57, ¶¶ 58-59].

 40. Admitted to the extent that, while Plaintiffs were informed that they were free to go, they were

    given the option to proceed to the parking lot if they wished to have their weapons returned to them

    at that time. Plaintiffs cite to no evidence that shows they were not free to decline this request and

    to have their weapons returned to them in another manner deemed safe by officers. [D.E. 57, ¶ 56,

    58].

 41. Admitted to the extent that this was the procedure by which Plaintiffs’ firearms were returned to

    them but denied that Plaintiffs were required to open their vehicles had they declined to do so.

    Defendants further note that Plaintiffs have presented no evidence which shows that they did not

    consent to this procedure or that they were not free to decline the request to open their vehicles for

    officers and have their weapons returned to them in another manner deemed safe.

 42. Admitted.

 43. Denied, and further noted that Plaintiffs have failed to cite to any record evidence in support of the

    assertion herein.

 44. Denied as phrased, and further noted that Plaintiffs have failed to cite to any record evidence in

    support of the assertion herein.

 45. Denied as phrased, and further noted that Plaintiffs have failed to cite to any record evidence in

    support of the assertion herein.

 46. Admitted.

 47. Admitted.




                                                     7
Case 1:19-cv-22303-KMW Document 72 Entered on FLSD Docket 03/26/2021 Page 8 of 10


 48. Denied as phrased, and further noted that Plaintiffs have failed to provide a complete and accurate

    recitation of the applicable law or any citation to record evidence in support of the assertion herein.



    Dated this 26th day of March, 2021.



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                                                    8
Case 1:19-cv-22303-KMW Document 72 Entered on FLSD Docket 03/26/2021 Page 9 of 10


                                         CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on this 26th day of March, 2021, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

 this day on all counsel of record or pro se parties identified on the attached Service List in the manner specified,

 either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized

 manner for those counsel or parties who are not authorized to receive electronically Notices of Electronic Filing.


                                                              s/Bradley F. Zappala
                                                              Bradley F. Zappala, Esq.




                                                          9
Case 1:19-cv-22303-KMW Document 72 Entered on FLSD Docket 03/26/2021 Page 10 of 10


                                                SERVICE LIST
                            Florida Carry, Inc., et al v. City of Miami Beach, et al.
                           United States District Court, Southern District of Florida
                                         Case No.: 19-cv-22303-KMW

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                                                      10
